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A0 91 (Rev. 11/11) Criminal Complaint
                                                                                                                F      I   L   1       ID
                                       UNITED STATES DISTRICT COURT
                                                                for the                                             FEB    -42019
                                             WESTERN District of TEXAS                                    CLERK, U.S.      DI$Tjc- COURT
                                                                                                          WESTERN
                                                                                                                           7lOF TEXAS
                  United States of America                         )
                                  v.                               )
                                                                   )
                                                                   )
                                                                            Case No.   5           i - 13
                     Benjamin Bogard
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best   of my knowledge and belief.
On or about the date(s) of January 29, 2019                               in the county of COMAL                                   in the
WESTERN                District of TEXAS                    ,   the defendant(s) violated:
            Code Section                                                     Offense Description
18/2252A(a)(5)(B)                          Receipt of Child Pornography.

                                           Maxmimum 5-20 years imprisonment; Lifetime of supervised release;
                                           $250,000 fine; $100 special assessment; $5,000 assessment pursuant to
                                           JVTA; Restitution, and Forfeiture


         This criminal complaint is based on these facts:

See Attached Affidavit




              Continued on the attached sheet.



                                                                                             Complainant's signature

                                                                           REX MILLER, SA, FBI
                                                                                              Printed name and title
   worn to before me and signed in my presence.
U Sworn to telephonically and signed electronically.


Date:                         /
                                                                                                Judge's

City and state:      SAN ANTONIO, TEXAS                                    HENR/V J. BEMPORAD, US MAGISTRATE JUDGE
                                                                                         Printed name and title
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                                   COMPLAINT AFFIDAVIT

I, Rex Miller, being duly sworn, depose and state that:


1.      I am a Special Agent ("SA") of the Federal Bureau    of Investigation ("FBI") and have

been so employed since January 2004. I am currently assigned to the San Antonio Division of

the FBI. I am assigned to the Violent Crimes against Children Section and as such, I investigate

crimes against children, including the trafficking and possession of child pornography. I am a

former headquarter supervisor in the Research and Development Unit within the Innocent

Images Program, the program that investigates these violations. I have received particularized

training in the investigation of computerrelated crimes, Usenet, peer-to-peer computer

networking, and online (i.e. Internet based) crimes against children. I have conducted and been

involved in numerous investigations of individuals suspected of producing, distributing and

receiving child pornography and have participated in the execution of numerous search warrants

which have resulted in the seizure of multiple items of child pornography. I have had the

occasion to become directly involved in investigations relating to the sexual exploitation of

children, to observe and review extensive examples of child pornography in various media

formats, including computer-based formats. I have also received training in the investigation and

detection of cases involving the sexual exploitation of children and child pornography.

2.      This affidavit is being submitted in support of an Application for a Criminal Complaint for

BENJAMIN BOGARD (Bogard), address: XXXX Geneseo Oaks, New Braunfels, Texas.

3.      On 01/25/2019, SA Kristian Spindel and Task Force Officer Randy Reyes interviewed

Bogard at his residence, 2395 Geneseo Oaks, New Braunfels, Texas. Bogard was interviewed

regarding Internet related posts involving domestic terroristic threats that included threats of mass

violence.   During the interview, Bogard allowed Special Agents of the Federal Bureau of

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Investigation to permit a complete search of his Huawei P20 Lite ANE-LX3 cellular phone bearing

serial number KPSDU18425000143 and Bogard signed an FD-26, Department of Justice, Federal

Bureau of Investigation, Consent to Search Form.


4.      On 01/29/2019, a review of stored videos saved in the downloads folder on the phone

revealed a video titled, ".com.google.Chrome.adG 133." SA Rex Miller reviewed this video. This

video is an 18 second video that depicts a minor female child lying on a bed on her side. The

minor child appears to be asleep. An adult male pulls the minor child's panties to the side and

then down and anally penetrates the minor child with his erect penis. The adult male stops when

the minor child begins to move. At the bottom of the video is displayed the following web address:

www.clubvipclip.com. The modified date of the video is 11/24/2018.


5.      A Federal search warrant for the phone was obtained on 01/30/2019. A further analysis of

the phone yielded an additional image depicting child pornography dated 10/14/20 17. The image

is a series   of four separate images. The upper right image depicts a prepubescent female wearing

only a tank top. The minor female child is performing oral copulation on an adult male.


6.      Based on the aforementioned facts, your Affiant respectfully submits that there is probable

cause to believe that Benjamin Bogard knowingly received any child pornography using any

means and facility of interstate or foreign commerce, and knowingly possessed any material that

contains an image of child pornography, that has been shipped and transported using any means

and facility of interstate and foreign commerce or was produced using materials




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that were shipped and transported in and affecting interstate and foreign commerce, in in violation

of 18 U.S.C.   §   2252A(a)(2) and 2252A(a)(5)(B), respectively.



FURTHER AFFIANT SAYETH NOT,

Sworn to before me this day of February      2019.



                                          Special Agent Rex Miller, FBI
                                          San Antonio, Texas




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